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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

HARDY WAY, LLC,                                             )
                                                            )   Case No. 20-cv-4854
               Plaintiff,                                   )
                                                            )    Judge
v.                                                          )
                                                            )
THE INDIVIDUALS, CORPORATIONS, LIMITED                      )
LIABILITY COMPANIES, PARTNERSHIPS AND                       )
UNINCORPORATED ASSOCIATIONS IDENTIFIED                      )
ON SCHEDULE “A” HERETO,                                     )
                                                            )
               Defendants.                                  )


                                         COMPLAINT

       Plaintiff HARDY WAY, LLC (“HARDY WAY” or “Plaintiff”), through undersigned

counsel, hereby complains of the Partnerships, Unincorporated Associations and others identified

in Schedule A attached hereto (collectively, “Defendants”), and for its Complaint hereby alleges

as follows:


                                JURISDICTION AND VENUE

       1.      This Court has original subject matter jurisdiction over the claims in this action

pursuant to the provisions of the Lanham Act, 15 U.S.C. § 1051 et seq., 28 U.S.C. § 1338(a)–(b)

and 28 U.S.C. § 1331. This Court has jurisdiction over the claims in this action that arise under

the laws of the State of Illinois pursuant to 28 U.S.C. § 1367(a), because the state law claims are

so related to the federal claims that they form part of the same case or controversy and derive

from a common nucleus of operative facts.

       2.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391, and this Court may

properly exercise personal jurisdiction over Defendants since each of the Defendants directly
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targets consumers in the United States, including Illinois, through at least the fully interactive

commercial Internet stores operating under the Defendant Domain Names and/or the Online

Marketplace Accounts identified in Schedule A attached hereto (collectively, the “Defendant

Internet Stores”). Specifically, Defendants are reaching out to do business with Illinois residents

by operating one or more commercial, interactive Internet Stores through which Illinois residents

can purchase products bearing counterfeit versions of Plaintiff’s trademarks. Each of the

Defendants have targeted sales from Illinois residents by operating online stores that offer

shipping to the United States, including Illinois, accept payment in U.S. dollars and, on

information and belief, has sold products bearing counterfeit versions of Plaintiff’s federally

registered trademarks to residents of Illinois. Each of the Defendants is committing tortious acts

in Illinois, is engaging in interstate commerce, and has wrongfully caused Plaintiff substantial

injury in the State of Illinois.

                                        INTRODUCTION

        3.      This action has been filed by Plaintiff to combat online counterfeiters who trade

upon Plaintiff’s reputation and goodwill by selling and/or offering for sale products in connection

with Plaintiff’s ED HARDY Trademarks, which are covered by U.S. Trademark Registration

Nos. 4,424,478; 4,312,667; 3,135,603; 3,655,472; 3,141,658; 3,135,603 and 3,632,302

(collectively, the “ED HARDY Trademarks”). The Registrations are valid, subsisting, and in full

force and effect. True and correct copies of the federal trademark registration certificates for the

marks are attached as Exhibit 1.

        4.      The Defendants create numerous Defendant Internet Stores and design them to

appear to be selling genuine Plaintiff’s products, while selling inferior imitations of Plaintiff’s

products. The Defendant Internet Stores share unique identifiers, such as design elements and



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similarities of the counterfeit products offered for sale, establishing a logical relationship between

them and suggesting that Defendants’ illegal operations arise out of the same transaction,

occurrence, or series of transactions or occurrences. Defendants attempt to avoid liability by going

to great lengths to conceal both their identities and the full scope and interworking of their illegal

counterfeiting operation. Plaintiff is forced to file this action to combat Defendants’ counterfeiting

of Plaintiff’s registered trademarks, as well as to protect unknowing consumers from purchasing

unauthorized ED HARDY products over the Internet. Plaintiff has been and continues to be

irreparably damaged through consumer confusion, dilution, and tarnishment of its valuable

trademarks as a result of Defendants’ actions and seeks injunctive and monetary relief.

        5.      This Court has personal jurisdiction over each Defendant, in that each Defendant

conducts significant business in Illinois and in this Judicial District, and the acts and events

giving rise to this lawsuit of which each Defendant stands accused were undertaken in Illinois

and in this Judicial District. In addition, each Defendant has offered to sell and ship infringing

products into this Judicial District.

                                        THE PLAINTIFF

        6.      Plaintiff HARDY WAY, LLC is a limited liability company organized and

existing under the laws of Delaware having a place of business at 1450 Broadway, 3rd Floor,

New York, NY 10018.

        7.      Plaintiff HARDY WAY, LLC is the registered owner of the ED HARDY

Trademarks (U.S. Trademark Registration Nos. 4,424,478; 4,312,667; 3,135,603; 3,655,472;

3,141,658; 3,135,603 and 3,632,302). HARDY WAY is in the business of developing,

marketing, selling and distributing Ed Hardy products. Ed Hardy is an alternative lifestyle




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fashion brand that celebrates the classic American tattoo as an art form. HARDY WAY, LLC is

the official source of Ed Hardy products:

       https://edhardyoriginals.com/collections/all




       8.      Since at least September 30, 2003, the ED HARDY Trademarks have been the

subject of substantial and continuous marketing and promotion by Plaintiff. Plaintiff has and

continues to widely market and promote the ED HARDY Trademarks in the industry and to

consumers. Plaintiff’s promotional efforts include — by way of example, but not limitation —

website and social media sites, and point of sale materials.

       9.      The ED HARDY Trademarks are distinctive and identify the merchandise as

goods from Plaintiff. The registrations for the ED HARDY Trademarks constitute prima facie

evidence of their validity and of Plaintiff’s exclusive right to use the ED HARDY Trademarks

pursuant to 15 U.S.C. § 1057(b).



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       10.      The ED HARDY Trademarks qualify as famous marks, as that term is used in 15

U.S.C. §1125 (c)(1) and have been continuously used and never abandoned.

       11.      Plaintiff has expended substantial time, money, and other resources in developing,

advertising, and otherwise promoting the ED HARDY Trademarks. As a result, products bearing

the ED HARDY Trademarks are widely recognized and exclusively associated by consumers,

the public, and the trade as being products sourced from Plaintiff.



                                        THE DEFENDANTS

       12.      Defendants are individuals and business entities who, upon information and

belief, reside in the People’s Republic of China or other foreign jurisdictions. Defendants

conduct business throughout the United States, including within Illinois and in this Judicial

District, through the operation of fully interactive commercial websites and online marketplaces

operating under the Defendant Internet Stores. Each Defendant targets the United States,

including Illinois, and has offered to sell and, on information and belief, has sold and continues

to sell counterfeit ED HARDY products to consumers within the United States, including Illinois

and in this Judicial District.

                          THE DEFENDANTS’ UNLAWFUL CONDUCT

        13.     The success of the ED HARDY brand has resulted in its counterfeiting. Plaintiff

has identified numerous domain names linked to fully interactive websites and marketplace

listings on platforms such as iOffer and Aliexpress, Alipay, DHgate, eBay and PayPal, including

the Defendant Internet Stores, which were offering for sale, selling, and importing counterfeit

ED HARDY products to consumers in this Judicial District and throughout the United States.

Defendants have persisted in creating the Defendant Internet Stores. Internet websites like the



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Defendant Internet Stores are estimated to receive tens of millions of visits per year and to

generate over $135 billion in annual online sales. According to an intellectual property rights

seizures statistics report issued by Homeland Security, the manufacturer’s suggested retail price

(MSRP) of goods seized by the U.S. government in fiscal year 2017 was over $1.21 billion.

Internet websites like the Defendant Internet Stores are also estimated to contribute to tens of

thousands of lost jobs for legitimate businesses and broader economic damages such as lost tax

revenue every year.

       14.     Upon information and belief, Defendants facilitate sales by designing the

Defendant Internet Stores so that they appear to unknowing consumers to be authorized online

retailers, outlet stores, or wholesalers selling genuine ED HARDY products. Many of the

Defendant Internet Stores look sophisticated and accept payment in U.S. dollars via credit cards,

Western Union and PayPal, Alipay and DHgate. Defendant Internet Stores often include images

and design elements that make it very difficult for consumers to distinguish such counterfeit sites

from an authorized website. Defendants further perpetuate the illusion of legitimacy by offering

“live 24/7” customer service and using indicia of authenticity and security that consumers have

come to associate with authorized retailers, including the McAfee® Security, VeriSign®, Visa®,

MasterCard®, and PayPal® logos.

       15.     Plaintiff has not licensed nor authorized Defendants to use the ED HARDY

Trademarks, and none of the Defendants are authorized retailers of genuine ED HARDY

products.

       16.     Upon information and belief, Defendants also deceive unknowing consumers by

using the ED HARDY Trademarks without authorization within the content, text, and/or meta tags

of their websites to attract various search engines crawling the Internet looking for websites



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relevant to consumer searches for ED HARDY products. Additionally, upon information and

belief, Defendants use other unauthorized search engine optimization (SEO) tactics and social

media spamming so that the Defendant Internet Store listings show up at or near the top of relevant

search results and misdirect consumers searching for genuine ED HARDY products. Further,

Defendants utilize similar illegitimate SEO tactics to propel new domain names to the top of

search results after others are shut down. As such, Plaintiff also seeks to disable Defendant

Domain Names owned by Defendants that are the means by which the Defendants could

continue to sell counterfeit ED HARDY products.

       17.     Defendants go to great lengths to conceal their identities and often use multiple

fictitious names and addresses to register and operate their massive network of Defendant Internet

Stores. For example, many of Defendants’ names and physical addresses used to register the

Defendant Domain Names are incomplete, contain randomly typed letters, or fail to include cities

or states. Other Defendant Domain Names use privacy services that conceal the owners’ identity

and contact information. Upon information and belief, Defendants regularly create new websites

and online marketplace accounts on various platforms using the identities listed in Schedule A to

the Complaint, as well as other unknown fictitious names and addresses. Such Defendant Internet

Store registration patterns are one of many common tactics used by the Defendants to conceal their

identities, the full scope and interworking of their massive counterfeiting operation, and to avoid

being shut down.

       18.     Even though Defendants operate under multiple fictitious names, there are numerous

similarities among the Defendant Internet Stores. For example, some of the Defendant websites

have virtually identical layouts, even though different aliases were used to register the respective

domain names. In addition, the counterfeit ED HARDY products for sale in the Defendant Internet



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Stores bear similarities and indicia of being related to one another, suggesting that the counterfeit

ED HARDY products were manufactured by and come from a common source and that, upon

information and belief, Defendants are interrelated. The Defendant Internet Stores also include other

notable common features, including use of the same domain name registration patterns, unique

shopping cart platforms, accepted payment methods, check-out methods, meta data, illegitimate

SEO tactics, HTML user-defined variables, domain redirection, lack of contact information,

identically or similarly priced items and volume sales discounts, similar hosting services, similar

name servers, and the use of the same text and images.

       19.     In addition to operating under multiple fictitious names, Defendants in this case

and defendants in other similar cases against online counterfeiters use a variety of other common

tactics to evade enforcement efforts. For example, counterfeiters like Defendants will often

register new domain names or online marketplace accounts under new aliases once they receive

notice of a lawsuit. Counterfeiters also often move website hosting to rogue servers located

outside the United States once notice of a lawsuit is received. Rogue servers are notorious for

ignoring take down demands sent by brand owners. Counterfeiters also typically ship products in

small quantities via international mail to minimize detection by U.S. Customs and Border

Protection. A 2012 U.S. Customs and Border Protection report on seizure statistics indicated that

the Internet has fueled “explosive growth” in the number of small packages of counterfeit goods

shipped through the mail and express carriers.

       20.     Further, counterfeiters such as Defendants typically operate multiple credit card

merchant accounts and Aliexpress, Alipay, DHgate, eBay and PayPal accounts behind layers of

payment gateways so that they can continue operation in spite of Plaintiff’s enforcement efforts.

Upon information and belief, Defendants maintain off-shore bank accounts and regularly move



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funds from their Aliexpress, Alipay, DHgate, eBay and PayPal accounts to off-shore bank

accounts outside the jurisdiction of this Court. Indeed, analysis of Aliexpress, Alipay, DHgate,

eBay and PayPal transaction logs from previous similar cases indicates that offshore counterfeiters

regularly move funds from U.S.-based Aliexpress, Alipay, DHgate, eBay and PayPal accounts to

China-based bank accounts outside the jurisdiction of this Court.

        21.    Defendants, without any authorization or license from Plaintiff, have knowingly

and willfully used and continue to use the ED HARDY Trademarks in connection with the

advertisement, distribution, offering for sale, and sale of counterfeit ED HARDY products into

the United States and Illinois over the Internet. Each Defendant Internet Store offers shipping to

the United States, including Illinois and, on information and belief, each Defendant has offered

to sell counterfeit ED HARDY products into the United States, including Illinois.

        22.    Defendants’ use of the ED HARDY Trademarks in connection with the

advertising, distribution, offering for sale, and sale of counterfeit ED HARDY products,

including the sale of counterfeit ED HARDY products into Illinois, is likely to cause and has

caused confusion, mistake, and deception by and among consumers and is irreparably harming

Plaintiff.


                             COUNT I
      TRADEMARK INFRINGEMENT AND COUNTERFEITING (15 U.S.C. § 1114)

        23.    Plaintiff repeats and incorporates by reference herein the allegations contained in

paragraphs 1-22 of this Complaint.

        24.    This is a trademark infringement action against Defendants based on their

unauthorized use in commerce of counterfeit imitations of the registered ED HARDY

Trademarks in connection with the sale, offering for sale, distribution, and/or advertising of



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infringing goods. The ED HARDY Trademarks are highly distinctive marks. Consumers have

come to expect the highest quality from Plaintiff’s products provided under the ED HARDY

Trademarks.

       25.     Defendants have sold, offered to sell, marketed, distributed, and advertised, and

are still selling, offering to sell, marketing, distributing, and advertising products in connection

with the ED HARDY Trademarks without Plaintiff’s permission.

       26.     The United States Registrations for the ED HARDY Trademarks (Exhibit 1) are

in full force and effect. Upon information and belief, Defendants have knowledge of Plaintiff’s

rights in the ED HARDY Trademarks and are willfully infringing and intentionally using

counterfeits of the ED HARDY Trademarks on counterfeit goods. Defendants’ willful,

intentional, and unauthorized use of the ED HARDY Trademarks is likely to cause and is

causing confusion, mistake, and deception as to the origin and quality of the counterfeit goods

among the general public.

       27.     Defendants’     activities   constitute   willful   trademark     infringement     and

counterfeiting under 15 U.S.C. §§ 1114, 1117.

       28.     The injuries and damages sustained by Plaintiff has been directly and proximately

caused by Defendants’ wrongful reproduction, use, advertisement, promotion, offering to sell,

and sale of counterfeit ED HARDY products.

       29.     Plaintiff has no adequate remedy at law, and, if Defendants’ actions are not

enjoined, Plaintiff will continue to suffer irreparable harm to its reputation and the goodwill of its

well-known ED HARDY Trademarks.




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                                   COUNT II
                  FALSE DESIGNATION OF ORIGIN (15 U.S.C. § 1125(a))

         30.   Plaintiff repeats and incorporates by reference herein the allegations contained in

paragraphs 1-29 of this Complaint.

         31.   Defendants’ promotion, marketing, offering for sale, and sale of counterfeit ED

HARDY products has created and is creating a likelihood of confusion, mistake, and deception

among the general public as to the affiliation, connection, or association with Plaintiff or the origin,

sponsorship, or approval of Defendants’ counterfeit ED HARDY products by Plaintiff.

         32.   By using the ED HARDY Trademarks in connection with the sale of counterfeit

ED HARDY products, Defendants create a false designation of origin and a misleading

representation of fact as to the origin and sponsorship of the counterfeit ED HARDY products.

         33.   Defendants’ false designation of origin and misrepresentation of fact as to the

origin and/or sponsorship of the counterfeit ED HARDY products to the general public is a

willful violation of Section 43 of the Lanham Act, 15 U.S.C. § 1125.

         34.   Plaintiff has no adequate remedy at law and, if Defendants’ actions are not

enjoined, Plaintiff will continue to suffer irreparable harm to its reputation and the goodwill of its

brand.


                                COUNT III
    VIOLATION OF ILLINOIS UNIFORM DECEPTIVE TRADE PRACTICES ACT
                         (815 ILCS § 510/1, et seq.)

         35.   Plaintiff repeats and incorporates by reference herein the allegations contained in

paragraphs 1-34 of this Complaint.

         36.   Defendants have engaged in acts violating Illinois law including, but not limited

to, passing off their counterfeit ED HARDY products as those of Plaintiff, causing a likelihood



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of confusion and/or misunderstanding as to the source of their goods, causing a likelihood of

confusion and/or misunderstanding as to an affiliation, connection, or association with genuine

ED HARDY products, representing that their products have Plaintiff’s approval when they do

not, and engaging in other conduct which creates a likelihood of confusion or misunderstanding

among the public.

       37.      The foregoing Defendants’ acts constitute a willful violation of the Illinois

Uniform Deceptive Trade Practices Act, 815 ILCS § 510/1, et seq.

       38.      Plaintiff has no adequate remedy at law, and Defendants’ conduct has caused

Plaintiff to suffer damage to its reputation and goodwill. Unless enjoined by the Court, Plaintiff

will suffer future irreparable harm as a direct result of Defendants’ unlawful activities.


                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for judgment against Defendants and each of them as
follows:

       1) That Defendants, their affiliates, officers, agents, servants, employees, attorneys,

confederates, and all persons acting for, with, by, through, under, or in active concert with them

be temporarily, preliminarily, and permanently enjoined and restrained from:

       a. using the ED HARDY Trademarks or any reproductions, counterfeit copies, or

             colorable imitations thereof in any manner in connection with the distribution,

             marketing, advertising, offering for sale, or sale of any products that are not genuine

             ED HARDY products or are not authorized by Plaintiff to be sold in connection with

             the ED HARDY Trademarks;

       b. passing off, inducing, or enabling others to sell or pass off any products as genuine

             ED HARDY products or any other products produced by Plaintiff that are not



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     Plaintiff’s or not produced under the authorization, control, or supervision of Plaintiff

     and approved by Plaintiff for sale under the ED HARDY Trademarks;

  c. committing any acts calculated to cause consumers to believe that Defendants’

     counterfeit ED HARDY products are those sold under the authorization, control, or

     supervision of Plaintiff, or are sponsored by, approved by, or otherwise connected

     with Plaintiff;

  d. further infringing the ED HARDY Trademarks and damaging Plaintiff’s goodwill;

  e. otherwise competing unfairly with Plaintiff in any manner;

  f. shipping, delivering, holding for sale, transferring or otherwise moving, storing,

     distributing, returning, or otherwise disposing of, in any manner, products or inventory

     not manufactured by or for Plaintiff, nor authorized by Plaintiff to be sold or offered

     for sale, and which bear any trademarks of Plaintiff, including the ED HARDY

     Trademarks, or any reproductions, counterfeit copies, or colorable imitations thereof;

  g. using, linking to, transferring, selling, exercising control over, or otherwise owning the

     Online Marketplace Accounts, the Defendant Domain Names, or any other domain

     name or online marketplace account that is being used to sell or is the means by which

     Defendants could continue to sell counterfeit ED HARDY products; and

  h. operating and/or hosting websites at the Defendant Domain Names and any other domain

     names registered or operated by Defendants that are involved with the distribution,

     marketing, advertising, offering for sale, or sale of any product bearing the ED HARDY

     Trademarks or any reproduction, counterfeit copy or colorable imitation thereof that are

     not genuine ED HARDY products or not authorized by Plaintiff to be sold in connection

     with the ED HARDY Trademarks;


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       2) That Defendants, within fourteen (14) days after service of judgment with notice of entry

thereof upon them, be required to filed with the Court and serve upon Plaintiff a written report under

oath setting forth in detail the manner and form in which Defendants have complied with paragraph

1, a through h, above;

       3) Entry of an Order that, at Plaintiff’s choosing, the registrant of the Defendant Domain

Names shall be changed from the current registrant to Plaintiff, and that the domain name

registries for the Defendant Domain Names, including, but not limited to, VeriSign, Inc.,

Neustar, Inc., Afilias Limited, CentralNic, Nominet, and the Public Interest Registry, shall

unlock and change the registrar of record for the Defendant Domain Names to a registrar of

Plaintiff’s selection, and that the domain name registrars take any steps necessary to transfer the

Defendant Domain Names to a registrar of Plaintiff’s selection; or that the same domain name

registries shall disable the Defendant Domain Names and make them inactive and untransferable;

       4) Entry of an Order that, upon Plaintiff’s request, those in privity with Defendants and

those with notice of the injunction, including any online marketplaces such as iOffer and Alibaba

Group Holding Ltd., Alipay and any related Alibaba entities (collectively, “Alibaba”), DHgate,

eBay, PayPal social media platforms, Facebook, YouTube, LinkedIn, Twitter, Internet search

engines such as Google, Bing and Yahoo, web hosts for the Defendant Domain Names, and

domain name registrars, shall:

       a. disable and cease providing services for any accounts through which Defendants

           engage in the sale of counterfeit ED HARDY products using the ED HARDY

           Trademarks, including any accounts associated with the Defendants listed in

           Schedule A;




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       b. disable and cease displaying any advertisements used by or associated with

          Defendants in connection with the sale of counterfeit ED HARDY products using the

          ED HARDY Trademarks; and

       c. take all steps necessary to prevent links to the Defendant Domain Names identified in

          Schedule A from displaying in search results, including, but not limited to, removing

          links to the Defendant Domain Names from any search index;

       5) That Defendants account for and pay to Plaintiff all profits realized by Defendants by

reason of Defendants’ unlawful acts herein alleged, and that the amount of damages for

infringement of the ED HARDY Trademarks be increased by a sum not exceeding three times

the amount thereof as provided by 15 U.S.C. § 1117;

       6) In the alternative, that Plaintiff be awarded statutory damages pursuant to 15 U.S.C. §

1117(c) of not less than $1,000 and not more than $2,000,000 for each and every use of the ED

HARDY Trademarks;

       7) That Plaintiff be awarded its reasonable attorneys’ fees and costs; and

       8) Award any and all other relief that this Court deems just and proper.

                                     Respectfully submitted,

Dated: August 19, 2020
                             By:     s/Michael A. Hierl             _
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                                CERTIFICATE OF SERVICE

       The undersigned attorney hereby certifies that a true and correct copy of the foregoing
Complaint was filed electronically with the Clerk of the Court and served on all counsel of
record and interested parties via the CM/ECF system on August 19, 2020.


                                                     s/Michael A. Hierl




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